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                                                                             November 30, 2023
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. James M. Wicks, U.S.M.J.
100 Federal Plaza, Courtroom 1020
Central Islip, NY 11722-4438
       Re:     Superb Motors Inc., et al. v. Deo, et al.
               Case No.: 2:23-cv-6188 (JMW)_______
Dear Judge Wicks:
       This firm represents Plaintiffs Superb Motors Inc. (“Superb”), Team Auto Sales LLC
(“Team”), and Robert Anthony Urrutia (“Urrutia”) (Superb, Team, and Urrutia collectively
hereinafter the “Superb Plaintiffs”) in the above-referenced case.

        The Superb Plaintiffs write to respectfully submit the instant letter response in opposition
to the Deo Defendants’ request for an extension of time. At 4:17 PM today, their counsel requested
an extension of time based on “a heavy workload in [his] solo practice,” to which your undersigned
responded at 4:26 PM, stating “[w]hile we’ve extended you courtesies before and are prepared to
do so in the future, upon consultation with my clients, we regrettably cannot consent to the instant
requested extension due to the nature of the relief sought.”

        Rule 6 of the Federal Rules of Civil Procedure provides that the standard under which a
motion for extension of time is decided is whether good cause exists for the Court to exercise its
discretion in favor of granting the request. See Fed. R. Civ. P. 6(b)(1)(A). The Deo Defendants’
counsel merely states that he has a “heavy workload” without providing any additional detail. This
is insufficient to constitute good cause. As such, the request for an extension of time should be
denied.

        In the event that the Court is inclined to exercise its discretion to grant the aforesaid
extension (which it should not), the same should only be granted to noon on Monday, December
4, 2023, such that the Superb Plaintiffs may nonetheless timely submit their reply in further support
of the Order to show cause to modify the preliminary injunction on Tuesday, December 5, 2023.

       The Superb Plaintiffs thank this honorable Court for its time and attention to this case.
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Dated: Lake Success, New York
       November 30, 2023            Respectfully submitted,

                                    MILMAN LABUDA LAW GROUP PLLC

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 1239 Hylan Blvd Auto LLC,           Gold Coast Cars of Sunrise LLC,
 2519 Hylan Blvd Auto LLC,           Gold Coast Motors Automotive Group LLC,
 76 Fisk Street Realty LLC,          Gold Coast Motors of LIC LLC,
 446 Route 23 Auto LLC,              Gold Coast Motors of Roslyn LLC,
 Island Auto Management, LLC,        Gold Coast Motors of Smithtown LLC,
 Brian Chabrier,                     and UEA Premier Motors Corp.
 Joshua Aaronson, and
 Jory Baron




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